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                                  UNITED STATES DISTRICT COURT
                                                       for the
                                  EASTERN DISTRICT OF NEW YORK
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KOON CHUN HING KEE SOY & SAUCE FACTORY, LTD,

                         Plaintiff,                                             CASE NO.:        1:19-cv-02026
                 v.

JESSICA YANG a/k/a YANG XIAO GENG a/k/a
JESSICA QIAO, YI Q. ZHAN a/k/a YI QIANG ZHAN
 a/k/a JIMMY ZHAN, STAR MARK MANAGEMENT, INC.,
GREAT MARK CORPORATION, GREAT KINGSLAND, INC.,
G.K EXOTIC, INC., EZ FANTASY, INC.,
BEAUTY LOVER EXPRESS, INC., and,
JOHNSON STORAGE, INC.,
                           Defendants.
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                                    SUMMONS IN A CIVIL ACTION

To: JESSICA YANG a/k/a YANG XIAO GENG a/k/a JESSICA QIAO, 67-49 166th Street,
Fresh Meadows, New York, 11365.
YI Q. ZHAN a/k/a YI QIANG ZHAN a/k/a JIMMY ZHAN, 67-49 166th Street, Fresh
Meadows, NY, 11365.
STAR MARK MANAGEMENT, INC., 136-15 41 Avenue, Ste. 56, Flushing NY 11355
GREAT MARK CORPORATION, 67-49 166th Street, Fresh Meadows, NY, 11365.
GREAT KINGSLAND, INC., 136-15 41st Avenue, Flushing, NY 11355.
G.K EXOTIC, INC., 33-70 Prince Street #CA28-61, Flushing, NY 11354.
EZ FANTASY, INC., 33-70 Prince Street #CA28-61, Flushing, NY 11354.
BEAUTY LOVER EXPRESS, INC., 136-15 41st Avenue, Flushing, NY 11355.
JOHNSON STORAGE, INC., 1101 Metropolitan Avenue, Brooklyn, NY 11211.
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days
if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must
be served on the plaintiff or plaintiff’s attorney, whose name and address are:
                         The Law Offices of Peter Sverd, PLLC
                         225 Broadway, Suite 613
                         New York, New York 10007

If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court. Douglas C. Palmer
                                                              CLERK OF COURT
Date: 4/9/2019                                                  /s/Priscilla Bowens
                                                                Signature of Clerk or Deputy Clerk
